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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   Dawn Retzlaff,                        )       SACV 11-1291-JVS (ANx)
                                           )
12                                         )       ORDER OF DISMISSAL UPON
                  Plaintiff,               )
13                                         )       SETTLEMENT OF CASE
           v.                              )
14                                         )
                                           )
15   Omni Credit Services of Florida,      )
     Inc.,                                 )
16                                         )
                                           )
17             Defendant(s).
     ______________________________ )
18
19         The Court having been advised by the counsel for the parties that the above-
20   entitled action has been settled,
21     IT IS ORDERED that this action be and is hereby dismissed in its entirety without
22   prejudice to the right, upon good cause being shown within 45 days, to reopen the
23   action if settlement is not consummated.
24
25   DATED:       October 13, 2011
                                                 ___________________________
26                                                  James V. Selna
                                                 United States District Judge
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